            IN THE COURT OF CRIMINAL APPEALS
                        OF TEXAS
          NOS. WR-85,903-01, WR-85,903-02, WR-85,903-03 AND WR-85,903-04


                      EX PARTE WILLIAM JAMES AKIN, Applicant


           ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
  CAUSE NOS. CR-13-24796-A, CR-13-24979-A, CR-13-24791-A AND CR-13-24795-A
         IN THE 336TH DISTRICT COURT FROM FANNIN COUNTY


       Per curiam.

                                            ORDER

       Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the

clerk of the trial court transmitted to this Court these applications for writs of habeas corpus. Ex

parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of three

charges of indecency with a child by contact and one charge of sexual assault of a child, and was

sentenced to four twenty-year sentences, to be served concurrently. The Sixth Court of Appeals

affirmed his convictions. Akin v. State, No. 06-14-00178-CR (Tex. App. — Texarkana, Sept. 16,

2015) (not designated for publication).
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       Applicant contends, among other things,1 that his trial counsel and appellate counsel both

rendered ineffective assistance. Applicant alleges that his trial counsel was ineffective for failing

to object to the testimony of Fannin County Sheriff Sergeant Jacob Barker, who testified about items

he found on Applicant’s laptop computer. Applicant alleges that appellate counsel was ineffective

for failing to argue on direct appeal that the trial court had erred by admitting, over defense

objection, the testimony of Applicant’s ex-wife Misti Akin.

       Applicant has alleged facts that, if true, might entitle him to relief. Strickland v. Washington,

466 U.S. 668 (1984); Ex parte Patterson, 993 S.W.2d 114, 115 (Tex. Crim. App. 1999). In these

circumstances, additional facts are needed. As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact. The trial court

shall order trial counsel and appellate counsel to respond to Applicant’s claims of ineffective

assistance of counsel. The trial court may use any means set out in TEX . CODE CRIM . PROC. art.

11.07, § 3(d). In the appropriate case, the trial court may rely on its personal recollection. Id.

       If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent.

If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an

attorney to represent Applicant at the hearing. TEX . CODE CRIM . PROC. art. 26.04.

       The trial court shall make findings of fact and conclusions of law as to whether the

performance of Applicant’s trial counsel was deficient and, if so, whether trial counsel’s deficient

performance prejudiced Applicant. The trial court shall also make findings of fact and conclusions

of law as to whether the performance of Applicant’s appellate counsel was deficient and, if so,

whether appellate counsel’s deficient performance prejudiced Applicant. The trial court shall also


       1
           This Court has considered Applicant’s other claims, and finds them to be without merit.
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make any other findings of fact and conclusions of law that it deems relevant and appropriate to the

disposition of Applicant’s claims for habeas corpus relief.

       These applications will be held in abeyance until the trial court has resolved the fact issues.

The issues shall be resolved within 90 days of this order. A supplemental transcript containing all

affidavits and interrogatories or the transcription of the court reporter’s notes from any hearing or

deposition, along with the trial court’s supplemental findings of fact and conclusions of law, shall

be forwarded to this Court within 120 days of the date of this order. Any extensions of time must

be requested by the trial court and shall be obtained from this Court.



Filed: November 16, 2016
Do not publish
